           Case 24-12228-amc                             Doc 11            Filed 07/08/24 Entered 07/08/24 15:05:34                                                    Desc Main
                                                                          Document      Page 1 of 44
 Fill in this information to identify your case and this filing:

  Debtor 1                 David                        Frederick                    Ralls, Jr
                           First Name                  Middle Name                  Last Name

  Debtor 2
  (Spouse, if filing)      First Name                  Middle Name                  Last Name

  United States Bankruptcy Court for the:                         Eastern                    District of     Pennsylvania

  Case number             24-12228                                                                                                                                     ❑ Check if this is an
                                                                                                                                                                         amended filing


Official Form 106A/B
Schedule A/B: Property                                                                                                                                                                 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in
the category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are
equally responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.

  Part 1:               Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

 1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        ❑ No. Go to Part 2.
        ✔ Yes. Where is the property?
        ❑
                                                                  What is the property? Check all that apply.                           Do not deduct secured claims or exemptions. Put
        1.1      905 N 50th St                                    ✔ Single-family home
                                                                  ❑                                                                     the amount of any secured claims on Schedule D:
                Street address, if available, or other            ❑ Duplex or multi-unit building                                       Creditors Who Have Claims Secured by Property.
                description                                       ❑ Condominium or cooperative                                         Current value of the            Current value of the
                                                                  ❑ Manufactured or mobile home                                        entire property?                portion you own?
                                                                  ❑ Land
                                                                  ❑ Investment property                                                             $166,118.40                $166,118.40
                 Philadelphia, PA 19131-5101                      ❑ Timeshare                                                          Describe the nature of your ownership interest
                                                                  ❑ Other
                City               State         ZIP Code
                                                                                                                                       (such as fee simple, tenancy by the entireties, or
                 Philadelphia                                     Who has an interest in the property? Check one.                      a life estate), if known.
                County                                            ✔ Debtor 1 only
                                                                  ❑                                                                     Fee Simple
                                                                  ❑ Debtor 2 only
                                                                  ❑ Debtor 1 and Debtor 2 only                                         ❑ Check if this is community property
                                                                  ❑ At least one of the debtors and another                                 (see instructions)

                                                                  Other information you wish to add about this item, such as local
                                                                  property identification number:

                                                                  Source of Value: Redfin ($207,648 less 20% closing costs)



                                                                                                                                                                   ➔
 2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages
        you have attached for Part 1. Write that number here ...................................................................................................
                                                                                                                                                                               $166,118.40



  Part 2:               Describe Your Vehicles

 Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
 you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


 3.        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           ❑ No
           ✔ Yes
           ❑


Official Form 106A/B                                                                Schedule A/B: Property                                                                             page 1
          Case 24-12228-amc                             Doc 11            Filed 07/08/24 Entered 07/08/24 15:05:34                                                    Desc Main
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Debtor Ralls, David Frederick                                                                                               Case number (if known) 24-12228



       3.1     Make:                           INFINITI          Who has an interest in the property? Check one.                       Do not deduct secured claims or exemptions. Put
                                                                 ✔ Debtor 1 only
                                                                 ❑                                                                     the amount of any secured claims on Schedule D:
               Model:                          Q50               ❑ Debtor 2 only                                                       Creditors Who Have Claims Secured by Property.
                                                                 ❑ Debtor 1 and Debtor 2 only                                         Current value of the            Current value of the
               Year:                           2017              ❑ At least one of the debtors and another                            entire property?                portion you own?

               Approximate mileage:            176000            ❑ Check if this is community property (see                                           $4,213.00                  $4,213.00
                                                                      instructions)
               Other information:




 4.    Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
       Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
       ✔ No
       ❑
       ❑ Yes


                                                                                                                                                                  ➔
 5.    Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
       you have attached for Part 2. Write that number here ...................................................................................................
                                                                                                                                                                                 $4,213.00



  Part 3:          Describe Your Personal and Household Items

 Do you own or have any legal or equitable interest in any of the following items?                                                                                    Current value of the
                                                                                                                                                                      portion you own?
                                                                                                                                                                      Do not deduct secured
                                                                                                                                                                      claims or exemptions.

 6.    Household goods and furnishings
       Examples: Major appliances, furniture, linens, china, kitchenware

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Various used pieces of furniture, furnishings, appliances, linens, and other                                                            $950.00
                                            similar items, each valued at $600 or less.

 7.    Electronics
       Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
                 collections; electronic devices including cell phones, cameras, media players, games

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                    Various used televisions, mobile devices, and computers, each valued at $600                                                            $350.00
                                            or less.

 8.    Collectibles of value
       Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or
                 baseball card collections; other collections, memorabilia, collectibles

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 9.    Equipment for sports and hobbies
       Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and
                 kayaks; carpentry tools; musical instruments

       ✔ No
       ❑
       ❑ Yes. Describe. .........

Official Form 106A/B                                                               Schedule A/B: Property                                                                             page 2
          Case 24-12228-amc                                       Doc 11               Filed 07/08/24 Entered 07/08/24 15:05:34                                                                Desc Main
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Debtor Ralls, David Frederick                                                                                                                     Case number (if known) 24-12228



 10.   Firearms
       Examples: Pistols, rifles, shotguns, ammunition, and related equipment

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 11.   Clothes
       Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                           Various used articles of clothing, shoes, and accessories, each valued at $600                                                                            $250.00
                                                   or less.

 12.   Jewelry
       Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold,
                 silver

       ❑ No
       ✔ Yes. Describe. .........
       ❑                                                                                                                                                                                                       $75.00
                                                   Various used pieces of jewelry.


 13.   Non-farm animals
       Examples: Dogs, cats, birds, horses

       ✔ No
       ❑
       ❑ Yes. Describe. .........
 14.   Any other personal and household items you did not already list, including any health aids you did not list

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. .............



                                                                                                                                                                                    ➔
 15.   Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
       for Part 3. Write that number here .................................................................................................................................
                                                                                                                                                                                                          $1,625.00



  Part 4:             Describe Your Financial Assets

 Do you own or have any legal or equitable interest in any of the following?                                                                                                                   Current value of the
                                                                                                                                                                                               portion you own?
                                                                                                                                                                                               Do not deduct secured
                                                                                                                                                                                               claims or exemptions.

 16.   Cash
       Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

       ✔ No
       ❑
       ❑ Yes ...................................................................................................................................................   Cash: ...................




Official Form 106A/B                                                                              Schedule A/B: Property                                                                                       page 3
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 17.   Deposits of money
       Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
                 and other similar institutions. If you have multiple accounts with the same institution, list each.

       ❑ No
       ✔ Yes .....................
       ❑                                                               Institution name:

                                      17.1. Checking account:          Ardent Federal Credit Union                                                 $0.00

                                      17.2. Checking account:          Franklin Mint Federal Credit Union                                     $8,763.24

                                      17.3. Checking account:          Trumark Federal Credit Union                                                $0.00

                                      17.4. Savings account:           Ardent Federal Credit Union                                                 $0.00

                                      17.5. Savings account:           Franklin Mint Federal Credit Union                                          $0.26

                                      17.6. Savings account:           Franklin Mint Federal Credit Union                                          $0.00

                                      17.7. Savings account:           Trumark Federal Credit Union                                                $0.00

                                      17.8. Other financial account:   Franklin Mint Federal Credit Union (share)                                  $0.00


 18.   Bonds, mutual funds, or publicly traded stocks
       Examples: Bond funds, investment accounts with brokerage firms, money market accounts

       ✔ No
       ❑
       ❑ Yes .....................

 19.   Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an
       LLC, partnership, and joint venture

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................


 20.   Government and corporate bonds and other negotiable and non-negotiable instruments
       Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
       Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about
           them....................


 21.   Retirement or pension accounts
       Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans

       ✔ No
       ❑
       ❑ Yes. List each
           account separately.




Official Form 106A/B                                                     Schedule A/B: Property                                                    page 4
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 22.   Security deposits and prepayments
       Your share of all unused deposits you have made so that you may continue service or use from a company
       Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or
                 others

       ✔ No
       ❑
       ❑ Yes ......................

 23.   Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

       ✔ No
       ❑
       ❑ Yes .....................

 24.   Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
       26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).

       ✔ No
       ❑
       ❑ Yes .....................

 25.   Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable
       for your benefit

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 26.   Patents, copyrights, trademarks, trade secrets, and other intellectual property
       Examples: Internet domain names, websites, proceeds from royalties and licensing agreements

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...


 27.   Licenses, franchises, and other general intangibles
       Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses

       ✔ No
       ❑
       ❑ Yes. Give specific
           information about them. ...

 Money or property owed to you?                                                                                                       Current value of the
                                                                                                                                      portion you own?
                                                                                                                                      Do not deduct secured
                                                                                                                                      claims or exemptions.

 28.   Tax refunds owed to you

       ✔ No
       ❑
       ❑ Yes. Give specific information about
                  them, including whether you
                  already filed the returns and
                  the tax years. ...................


 29.   Family support
       Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property
                 settlement




Official Form 106A/B                                                Schedule A/B: Property                                                            page 5
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Debtor Ralls, David Frederick                                                                                                          Case number (if known) 24-12228



       ✔ No
       ❑
       ❑ Yes. Give specific information. ........

 30.   Other amounts someone owes you
       Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
                 Social Security benefits; unpaid loans you made to someone else

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
 31.   Interests in insurance policies
       Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance

       ✔ No
       ❑
       ❑ Yes. Name the insurance company
                   of each policy and list its value. ...


 32.   Any interest in property that is due you from someone who has died
       If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
       property because someone has died.

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........
 33.   Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
       Examples: Accidents, employment disputes, insurance claims, or rights to sue

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............
 34.   Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off
       claims

       ✔ No
       ❑
       ❑ Yes. Describe each claim. ..............
 35.   Any financial assets you did not already list

       ✔ No
       ❑
       ❑ Yes. Give specific information. ........


                                                                                                                                                                              ➔
 36.   Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
       for Part 4. Write that number here .................................................................................................................................
                                                                                                                                                                                        $8,763.50



  Part 5:            Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

 37.   Do you own or have any legal or equitable interest in any business-related property?

       ✔ No. Go to Part 6.
       ❑
       ❑ Yes. Go to line 38.


                                                                                                                                                                              ➔
 45.   Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
       for Part 5. Write that number here .................................................................................................................................
                                                                                                                                                                                           $0.00



  Part 6:            Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                     If you own or have an interest in farmland, list it in Part 1.




Official Form 106A/B                                                                      Schedule A/B: Property                                                                              page 6
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 46.   Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

       ✔ No. Go to Part 7.
       ❑
       ❑ Yes. Go to line 47.


                                                                                                                                                                                ➔
 52.   Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
       for Part 6. Write that number here .................................................................................................................................
                                                                                                                                                                                                  $0.00



  Part 7:            Describe All Property You Own or Have an Interest in That You Did Not List Above

 53.   Do you have other property of any kind you did not already list?
       Examples: Season tickets, country club membership

       ✔ No
       ❑
       ❑ Yes. Give specific
            information. ............



 54.   Add the dollar value of all of your entries from Part 7. Write that number here .......................................................                                  ➔                 $0.00



  Part 8:            List the Totals of Each Part of this Form

 55.   Part 1: Total real estate, line 2 ........................................................................................................................................   ➔        $166,118.40


 56.   Part 2: Total vehicles, line 5                                                                                $4,213.00

 57.   Part 3: Total personal and household items, line 15                                                           $1,625.00

 58.   Part 4: Total financial assets, line 36                                                                       $8,763.50

 59.   Part 5: Total business-related property, line 45                                                                     $0.00

 60.   Part 6: Total farm- and fishing-related property, line 52                                                            $0.00

 61.   Part 7: Total other property not listed, line 54                                            +                        $0.00


 62.   Total personal property. Add lines 56 through 61. ...............                                           $14,601.50              Copy personal property total             ➔   +     $14,601.50



 63.   Total of all property on Schedule A/B. Add line 55 + line 62. ........................................................................................                               $180,719.90




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                 page 7
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 Fill in this information to identify your case:

  Debtor 1            David                   Frederick             Ralls, Jr
                      First Name             Middle Name           Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name           Last Name

  United States Bankruptcy Court for the:               Eastern               District of   Pennsylvania

  Case number         24-12228
  (if known)                                                                                                                            ❑ Check if this is an
                                                                                                                                            amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using the
property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is needed, fill out
and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a specific
dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of any applicable
statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement funds—may be unlimited
in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount
and the value of the property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.

      Part 1:     Identify the Property You Claim as Exempt


 1.    Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
       ❑ You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
       ✔ You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)
       ❑

 2.    For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

       Brief description of the property and        Current value of the        Amount of the exemption you claim            Specific laws that allow exemption
       line on Schedule A/B that lists this         portion you own
       property                                                                 Check only one box for each exemption.
                                                    Copy the value from
                                                    Schedule A/B

       Brief             2017 INFINITI Q50                   $4,213.00          ✔
                                                                                ❑           $0.00                            11 U.S.C. § 522(d)(2)
       description:
                                                                                ❑ 100% of fair market value, up to
       Line from                                                                    any applicable statutory limit
       Schedule A/B:        3.1
                                                                                ✔
                                                                                ❑           $0.00                            11 U.S.C. § 522(d)(5)
                                                                                ❑ 100% of fair market value, up to
                                                                                    any applicable statutory limit

 3.    Are you claiming a homestead exemption of more than $189,050?
       (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)

       ✔ No
       ❑
       ❑ Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
         ❑ No
         ❑ Yes




Official Form 106C                                        Schedule C: The Property You Claim as Exempt                                               page 1 of 3
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Debtor 1            David                 Frederick           Ralls, Jr                       Case number (if known) 24-12228
                First Name               Middle Name         Last Name



   Part 2:      Additional Page

     Brief description of the property and       Current value of the     Amount of the exemption you claim          Specific laws that allow exemption
     line on Schedule A/B that lists this        portion you own
     property                                                             Check only one box for each exemption.
                                                 Copy the value from
                                                 Schedule A/B

     Brief             Various used                         $950.00
     description:      pieces of furniture,
                       furnishings,
                       appliances, linens,
                       and other similar
                       items, each valued
                       at $600 or less.                                   ✔
                                                                          ❑         $950.00                          11 U.S.C. § 522(d)(3)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          6                                                 any applicable statutory limit

     Brief             Various used                         $350.00
     description:      televisions, mobile
                       devices, and
                       computers, each
                       valued at $600 or
                       less.                                              ✔
                                                                          ❑         $350.00                          11 U.S.C. § 522(d)(3)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          7                                                 any applicable statutory limit

     Brief             Various used                         $250.00
     description:      articles of clothing,
                       shoes, and
                       accessories, each
                       valued at $600 or
                       less.                                              ✔
                                                                          ❑         $250.00                          11 U.S.C. § 522(d)(3)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          11                                                any applicable statutory limit

     Brief             Various used                          $75.00
                                                                          ✔
     description:      pieces of jewelry.                                 ❑          $75.00                          11 U.S.C. § 522(d)(4)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          12                                                any applicable statutory limit

     Brief             Franklin Mint                      $8,763.24
     description:      Federal Credit
                       Union
                       Checking account                                   ✔
                                                                          ❑        $8,763.24                         11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit

     Brief             Franklin Mint                          $0.26
     description:      Federal Credit
                       Union
                       Savings account                                    ✔
                                                                          ❑          $0.26                           11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit


Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                       page 2 of 3
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Debtor 1            David                 Frederick           Ralls, Jr                      Case number (if known) 24-12228
                First Name               Middle Name          Last Name



   Part 2:      Additional Page

     Brief description of the property and        Current value of the    Amount of the exemption you claim         Specific laws that allow exemption
     line on Schedule A/B that lists this         portion you own
     property                                                             Check only one box for each exemption.
                                                  Copy the value from
                                                  Schedule A/B

     Brief             Franklin Mint                           $0.00
     description:      Federal Credit
                       Union
                       Savings account                                    ✔
                                                                          ❑          $0.00                          11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit

     Brief             Franklin Mint                           $0.00
     description:      Federal Credit
                       Union (share)
                       Other financial account                            ✔
                                                                          ❑          $0.00                          11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit

     Brief             Ardent Federal                          $0.00
     description:      Credit Union
                       Checking account                                   ✔
                                                                          ❑          $0.00                          11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit

     Brief             Trumark Federal                         $0.00
     description:      Credit Union
                       Checking account                                   ✔
                                                                          ❑          $0.00                          11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit

     Brief             Trumark Federal                         $0.00
     description:      Credit Union
                       Savings account                                    ✔
                                                                          ❑          $0.00                          11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit

     Brief             Ardent Federal                          $0.00
     description:      Credit Union
                       Savings account                                    ✔
                                                                          ❑          $0.00                          11 U.S.C. § 522(d)(5)
     Line from                                                            ❑ 100% of fair market value, up to
     Schedule A/B:          17                                                any applicable statutory limit




Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                      page 3 of 3
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 Fill in this information to identify your case:

     Debtor 1           David                  Frederick              Ralls, Jr
                        First Name             Middle Name           Last Name

     Debtor 2
     (Spouse, if filing) First Name            Middle Name           Last Name

     United States Bankruptcy Court for the:              Eastern               District of    Pennsylvania

     Case number (if 24-12228
     known)                                                                                                                                 ❑ Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                          12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your
name and case number (if known).
1.     Do any creditors have claims secured by your property?
       ❑ No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
       ✔ Yes. Fill in all of the information below.
       ❑
      Part 1:       List All Secured Claims

 2.      List all secured claims. If a creditor has more than one secured claim, list the creditor           Column A               Column B              Column C
         separately for each claim. If more than one creditor has a particular claim, list the other         Amount of claim        Value of collateral   Unsecured
         creditors in Part 2. As much as possible, list the claims in alphabetical order according to the    Do not deduct the
                                                                                                                                    that supports this    portion
         creditor’s name.                                                                                    value of collateral.
                                                                                                                                    claim                 If any

     2.1 City of Philadelphia                          Describe the property that secures the claim:                    $232.71           $166,118.40              $0.00
         Creditor’s Name
                                                       905 N 50th St Philadelphia, PA 19131-5101
          Municipal Services Building
          1401 John F Kennedy Blvd Fl 5                As of the date you file, the claim is: Check all that apply.
         Number          Street                        ❑ Contingent
          Philadelphia, PA 19102-1617                  ❑ Unliquidated
         City               State       ZIP Code       ❑ Disputed
         Who owes the debt? Check one.                 Nature of lien. Check all that apply.
         ✔ Debtor 1 only
         ❑                                             ❑ An agreement you made (such as mortgage or secured car loan)
         ❑ Debtor 2 only                               ✔ Statutory lien (such as tax lien, mechanic’s lien)
                                                       ❑
         ❑ Debtor 1 and Debtor 2 only                  ❑ Judgment lien from a lawsuit
         ❑ At least one of the debtors and             ❑ Other (including a right to
              another                                      offset)
         ❑ Check if this claim relates to a
              community debt
         Date debt was incurred                        Last 4 digits of account number

         Add the dollar value of your entries in Column A on this page. Write that number here:                         $232.71




Official Form 106D                                 Schedule D: Creditors Who Have Claims Secured by Property                                              page 1 of 2
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Debtor 1        David                 Frederick               Ralls, Jr                        Case number (if known) 24-12228
                First Name            Middle Name             Last Name


                                                                                                       Column A               Column B                Column C
                Additional Page                                                                        Amount of claim        Value of collateral     Unsecured
   Part 1:                                                                                                                    that supports this      portion
                After listing any entries on this page, number them beginning with 2.3,                Do not deduct the
                followed by 2.4, and so forth.                                                         value of collateral.
                                                                                                                              claim                   If any

  2.2 Wilmington Savings Fund                    Describe the property that secures the claim:              $174,724.15             $166,118.40         $8,605.75
       Society, FSB, d/
      Creditor’s Name                            905 N 50th St Philadelphia, PA 19131-5101
       Attn: Bankruptcy
                                                 As of the date you file, the claim is: Check all that apply.
       309 W 49th St                             ❑ Contingent
      Number         Street
                                                 ❑ Unliquidated
       New York, NY 10019-7316                   ❑ Disputed
      City              State      ZIP Code
      Who owes the debt? Check one.              Nature of lien. Check all that apply.
      ✔ Debtor 1 only
      ❑                                          ✔ An agreement you made (such as mortgage or secured car loan)
                                                 ❑
      ❑ Debtor 2 only                            ❑ Statutory lien (such as tax lien, mechanic’s lien)
      ❑ Debtor 1 and Debtor 2 only               ❑ Judgment lien from a lawsuit
      ❑ At least one of the debtors and          ❑ Other (including a right to
           another                                  offset)
      ❑ Check if this claim relates to a
           community debt
      Date debt was incurred                     Last 4 digits of account number

      Add the dollar value of your entries in Column A on this page. Write that number here:                $174,724.15
      If this is the last page of your form, add the dollar value totals from all pages.
                                                                                                            $174,956.86
      Write that number here:




Official Form 106D                  Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                    page 2 of 2
            Case 24-12228-amc                      Doc 11        Filed 07/08/24 Entered 07/08/24 15:05:34                                        Desc Main
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 Fill in this information to identify your case:

  Debtor 1            David                   Frederick                Ralls, Jr
                     First Name              Middle Name              Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name              Last Name

  United States Bankruptcy Court for the:                 Eastern                District of   Pennsylvania

  Case number        24-12228
  (if known)                                                                                                                                   ❑ Check if this is an
                                                                                                                                                    amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                    12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the
other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official
Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured
claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out,
number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of any additional pages, write your name and case
number (if known).

      Part 1:      List All of Your PRIORITY Unsecured Claims

 1.     Do any creditors have priority unsecured claims against you?
        ❑ No. Go to Part 2.
        ✔ Yes.
        ❑
 2.     List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each
        claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority
        amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims,
        fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.

        (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)

                                                                                                                             Total claim      Priority        Nonpriority
                                                                                                                                              amount          amount
  2.1 Internal Revenue Service                          Last 4 digits of account number                                       $15,792.00       $15,792.00            $0.00
        Priority Creditor’s Name
                                                        When was the debt incurred?
         Centralized Insolvency Operation
         PO Box 7346
        Number         Street                           As of the date you file, the claim is: Check all that apply.

         Philadelphia, PA 19101-7346                    ❑ Contingent
        City               State          ZIP Code
                                                        ❑ Unliquidated
                                                        ❑ Disputed
        Who incurred the debt? Check one.
        ✔ Debtor 1 only
        ❑                                               Type of PRIORITY unsecured claim:

        ❑ Debtor 2 only                                 ❑ Domestic support obligations
        ❑ Debtor 1 and Debtor 2 only                    ✔ Taxes and certain other debts you owe the government
                                                        ❑
        ❑ At least one of the debtors and another       ❑ Claims for death or personal injury while you were intoxicated
        ❑ Check if this claim is for a                  ❑ Other. Specify
            community debt

        Is the claim subject to offset?
        ✔ No
        ❑
        ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                    page 1 of 13
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Debtor 1           David                   Frederick                Ralls, Jr                         Case number (if known) 24-12228
                  First Name               Middle Name             Last Name


      Part 2:      List All of Your NONPRIORITY Unsecured Claims

 3.     Do any creditors have nonpriority unsecured claims against you?
        ❑ No. You have nothing to report in this part. Submit this form to the court with your other schedules.
        ✔ Yes
        ❑
 4.     List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
        nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
        included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
        claims fill out the Continuation Page of Part 2.

                                                                                                                                                             Total claim
  4.1 Affirm, Inc.                                                       Last 4 digits of account number           2   G     4    D                              $883.00
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                   5/1/2023
         Attn: Bankruptcy Attn: Bankruptcy
         30 Isabella St , Floor 4
                                                                         As of the date you file, the claim is: Check all that apply.
         Number              Street
                                                                         ❑ Contingent
         Pittsburgh, PA 15212
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
         City                     State                    ZIP Code

         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify Unsecured
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes
  4.2 Amex                                                               Last 4 digits of account number           0    2    1    3                              $338.00
         Nonpriority Creditor’s Name
                                                                         When was the debt incurred?                   9/1/2015
         Correspondence/Bankruptcy
         PO Box 981540
                                                                         As of the date you file, the claim is: Check all that apply.
         Number              Street
                                                                         ❑ Contingent
         El Paso, TX 79998-1540
                                                                         ❑ Unliquidated
                                                                         ❑ Disputed
         City                     State                    ZIP Code

         Who incurred the debt? Check one.
         ✔ Debtor 1 only
         ❑
                                                                         Type of NONPRIORITY unsecured claim:

         ❑ Debtor 2 only                                                 ❑ Student loans
         ❑ Debtor 1 and Debtor 2 only                                    ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                             priority claims
         ❑ At least one of the debtors and another                       ❑ Debts to pension or profit-sharing plans, and other similar debts
         ❑ Check if this claim is for a community debt                   ✔ Other. Specify CreditCard
                                                                         ❑
         Is the claim subject to offset?
         ✔ No
         ❑
         ❑ Yes




Official Form 106E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                 page 2 of 13
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Debtor 1        David                   Frederick            Ralls, Jr                       Case number (if known) 24-12228
               First Name               Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
  4.3 Best Egg                                                    Last 4 digits of account number         3    4   5     4                        $2,798.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 3/1/2023
       1523 Concord Pike Suite 201
      Number             Street
                                                                  As of the date you file, the claim is: Check all that apply.

       Wilmington, DE 19803
                                                                  ❑ Contingent
      City                    State                   ZIP Code
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Unsecured
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.4 Credit One Bank                                             Last 4 digits of account number         4    8   8     8                        $2,019.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 3/1/2023
       Attn: Bankruptcy
       6801 S Cimarron Rd
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Las Vegas, NV 89113-2273
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify CreditCard
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                        page 3 of 13
           Case 24-12228-amc                  Doc 11       Filed 07/08/24 Entered 07/08/24 15:05:34                                 Desc Main
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Debtor 1        David                   Frederick            Ralls, Jr                       Case number (if known) 24-12228
               First Name               Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
  4.5 Essential Lending                                           Last 4 digits of account number         0    4   0     2                        $1,467.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 8/1/2023
       Attn: Bankruptcy
       3500 Hulen St. Suite 201
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Fort Worth, TX 76107-6812
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Unsecured
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.6 Franklin Mint Federal Credit Union                          Last 4 digits of account number         4    7   4     1                        $1,667.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 8/1/2020
       Attn: Bankruptcy Attn: Bankruptcy
       5 Hillman Dr , Ste 100
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Chadds Ford, PA 19317-9998
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Unsecured
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                        page 4 of 13
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Debtor 1        David                   Frederick            Ralls, Jr                       Case number (if known) 24-12228
                First Name              Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
  4.7 Franklin Mint Federal Credit Union                          Last 4 digits of account number         4    1   5     4                        $1,431.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 12/1/2022
       Attn: Bankruptcy Attn: Bankruptcy
       5 Hillman Dr , Ste 100
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Chadds Ford, PA 19317-9998
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify CheckCreditOrLineOfCredit
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
  4.8 Koalafi                                                     Last 4 digits of account number         0    9   X     4                          $156.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 5/8/2023
       Attn: Bankruptcy
       Po Box 5518
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Glen Allen, VA 23058-5518
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Lease
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




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Debtor 1        David                   Frederick            Ralls, Jr                       Case number (if known) 24-12228
                First Name              Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
  4.9 Koalafi                                                     Last 4 digits of account number         0    9   X    2                             $64.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 5/26/2022
       Attn: Bankruptcy
       Po Box 5518
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Glen Allen, VA 23058-5518
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Lease
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.10 LJ Ross & Associates                                        Last 4 digits of account number         3    1   3    4                           $407.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 4/18/2024
       Attn: Bankruptcy
       4 Universal Way, PO Box 6099
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Jackson, MI 49204-6099
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify UnknownLoanType
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                        page 6 of 13
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Debtor 1        David                   Frederick            Ralls, Jr                       Case number (if known) 24-12228
               First Name               Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.11 NAVY FCU                                                    Last 4 digits of account number         5    2   1     1                        $23,995.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2016
      Attn: Bankruptcy
      PO Box 3000
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Merrifield, VA 22119-3000
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Unsecured
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.12 NAVY FCU                                                    Last 4 digits of account number         6    9   9     7                        $21,374.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 1/1/2016
      Attn: Bankruptcy
      PO Box 3000
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Merrifield, VA 22119
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify UnknownLoanType
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                        page 7 of 13
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Debtor 1        David                   Frederick            Ralls, Jr                       Case number (if known) 24-12228
               First Name               Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.13 Navy Federal Cr Union                                       Last 4 digits of account number         6    9   9     7                        $21,374.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 1/1/2016
      820 Follin Lane Se
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Vienna, VA 22180
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.14 Navy Federal Credit Union                                   Last 4 digits of account number         5    2   1     1                        $23,995.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 11/1/2016
      Attn: Bankruptcy
      PO Box 3000
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Merrifield, VA 22119
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify UnknownLoanType
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                        page 8 of 13
           Case 24-12228-amc                  Doc 11       Filed 07/08/24 Entered 07/08/24 15:05:34                                    Desc Main
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Debtor 1        David                   Frederick            Ralls, Jr                       Case number (if known) 24-12228
               First Name               Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.15 Nelnet                                                      Last 4 digits of account number         0    0   0     2                        $18,268.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/1/2022
      Attn: Bankruptcy
      121 S 13th St
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
      Lincoln, NE 68508-1904
                                                                 ❑ Contingent
                                                                 ❑ Unliquidated
      City                    State                   ZIP Code
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:
                                                                 ✔ Student loans
                                                                 ❑
      ❑ Debtor 2 only
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ❑ Other. Specify
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.16 Sb1 Federal Credit Unio                                     Last 4 digits of account number         0    1   5     8                        $11,654.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 6/1/2022
      P.o. Box 7480
      Number             Street
                                                                 As of the date you file, the claim is: Check all that apply.

      Philadelphia, PA 19101
                                                                 ❑ Contingent
      City                    State                   ZIP Code
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Unsecured
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                        page 9 of 13
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Debtor 1        David                   Frederick            Ralls, Jr                       Case number (if known) 24-12228
               First Name               Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
 4.17 Syncb/infiniti Dc                                           Last 4 digits of account number         5    7   8     9                        $3,126.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 11/1/2019
       Attn: Bankruptcy
       PO Box 965060
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Orlando, FL 32896-5060
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify CreditCard
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.18 Synchrony Bank/Care Credit                                  Last 4 digits of account number         7    3   0     5                          $654.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 1/1/2023
       Attn: Bankruptcy
       PO Box 965060
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Orlando, FL 32896
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify ChargeAccount
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                        page 10 of 13
           Case 24-12228-amc                  Doc 11       Filed 07/08/24 Entered 07/08/24 15:05:34                                 Desc Main
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Debtor 1        David                   Frederick            Ralls, Jr                       Case number (if known) 24-12228
               First Name               Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                          Total claim
 4.19 Synchrony/PayPal Credit                                     Last 4 digits of account number         1    3   7     0                        $2,325.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 3/1/2019
       Attn: Bankruptcy
       PO Box 965060
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Orlando, FL 32896-5060
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify CreditCard
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
 4.20 Trumark Financial Credit Union                              Last 4 digits of account number         0    0   0     2                        $4,914.00
      Nonpriority Creditor’s Name
                                                                  When was the debt incurred?                 10/1/2019
       Attn: Bankruptcy
       335 Commerce Dr
                                                                  As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                  ❑ Contingent
       Ft Washington, PA 19034-2701
                                                                  ❑ Unliquidated
                                                                  ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                  Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                             ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                                ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                   ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt               ✔ Other. Specify Unsecured
                                                                  ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                        page 11 of 13
           Case 24-12228-amc                  Doc 11       Filed 07/08/24 Entered 07/08/24 15:05:34                                    Desc Main
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Debtor 1        David                   Frederick            Ralls, Jr                       Case number (if known) 24-12228
               First Name               Middle Name          Last Name

   Part 2:      Your NONPRIORITY Unsecured Claims ─ Continuation Page

 After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.                                         Total claim
4.21 Trumark Financial Credit Union                              Last 4 digits of account number         2    8   7     4                         $4,897.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?                 7/1/2015
      Attn: Bankruptcy
      335 Commerce Dr
                                                                 As of the date you file, the claim is: Check all that apply.
      Number             Street
                                                                 ❑ Contingent
      Ft Washington, PA 19034-2701
                                                                 ❑ Unliquidated
                                                                 ❑ Disputed
      City                    State                   ZIP Code

      Who incurred the debt? Check one.
      ✔ Debtor 1 only
      ❑
                                                                 Type of NONPRIORITY unsecured claim:

      ❑ Debtor 2 only                                            ❑ Student loans
      ❑ Debtor 1 and Debtor 2 only                               ❑ Obligations arising out of a separation agreement or divorce that you did not report as
                                                                     priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify CreditCard
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes
4.22 U.S. Small Business Admin.                                  Last 4 digits of account number                                                 $14,000.00
      Nonpriority Creditor’s Name
                                                                 When was the debt incurred?
      Office of General Counsel
      409 3rd St SW                                              As of the date you file, the claim is: Check all that apply.
                                                                 ❑ Contingent
      Number             Street
      Washington, DC 20416-0011                                  ❑ Unliquidated
      City                    State                   ZIP Code   ❑ Disputed
      Who incurred the debt? Check one.
                                                                 Type of NONPRIORITY unsecured claim:
      ✔ Debtor 1 only
      ❑                                                          ❑ Student loans
      ❑ Debtor 2 only                                            ❑ Obligations arising out of a separation agreement or divorce that you did not report as
      ❑ Debtor 1 and Debtor 2 only                                   priority claims
      ❑ At least one of the debtors and another                  ❑ Debts to pension or profit-sharing plans, and other similar debts
      ❑ Check if this claim is for a community debt              ✔ Other. Specify Money Loaned
                                                                 ❑
      Is the claim subject to offset?
      ✔ No
      ❑
      ❑ Yes




Official Form 106E/F                                Schedule E/F: Creditors Who Have Unsecured Claims                                       page 12 of 13
            Case 24-12228-amc                    Doc 11       Filed 07/08/24 Entered 07/08/24 15:05:34                             Desc Main
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Debtor 1          David                   Frederick              Ralls, Jr                   Case number (if known) 24-12228
                  First Name             Middle Name            Last Name


      Part 4:     Add the Amounts for Each Type of Unsecured Claim

 6.     Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
        Add the amounts for each type of unsecured claim.



                                                                                                Total claim

 Total claims      6a.    Domestic support obligations                                6a.                           $0.00
 from Part 1
                   6b.    Taxes and certain other debts you owe the government        6b.                      $15,792.00

                   6c.    Claims for death or personal injury while you were          6c.                           $0.00
                          intoxicated

                   6d.    Other. Add all other priority unsecured claims.             6d.   +                       $0.00
                          Write that amount here.

                   6e.    Total. Add lines 6a through 6d.                             6e.
                                                                                                              $15,792.00



                                                                                                Total claim

 Total claims      6f.    Student loans                                               6f.                      $18,268.00
 from Part 2
                   6g.    Obligations arising out of a separation agreement or        6g.                           $0.00
                          divorce that you did not report as priority claims

                   6h.    Debts to pension or profit-sharing plans, and other         6h.                           $0.00
                          similar debts

                   6i.    Other. Add all other nonpriority unsecured claims.          6i.   +                 $143,538.00
                          Write that amount here.

                   6j.    Total. Add lines 6f through 6i.                             6j.
                                                                                                           $161,806.00




Official Form 106E/F                                  Schedule E/F: Creditors Who Have Unsecured Claims                                    page 13 of 13
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 Fill in this information to identify your case:

     Debtor 1                       David                Frederick        Ralls, Jr
                                    First Name           Middle Name     Last Name

     Debtor 2
     (Spouse, if filing)            First Name           Middle Name     Last Name

     United States Bankruptcy Court for the:                     Eastern District of Pennsylvania

     Case number                            24-12228                                                                                  ❑ Check if this is an
     (if known)                                                                                                                            amended filing


Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any additional pages, write your name and
case number (if known).

 1.     Do you have any executory contracts or unexpired leases?
        ✔ No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
        ❑
        ❑ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).
2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for example,
       rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and unexpired
       leases.



       Person or company with whom you have the contract or lease                           State what the contract or lease is for

2.1

        Name

        Number             Street

        City                                     State   ZIP Code

2.2

        Name

        Number             Street

        City                                     State   ZIP Code

2.3

        Name

        Number             Street

        City                                     State   ZIP Code

2.4

        Name

        Number             Street

        City                                     State   ZIP Code




Official Form 106G                                              Schedule G: Executory Contracts and Unexpired Leases                                        page 1 of 1
          Case 24-12228-amc                         Doc 11      Filed 07/08/24 Entered 07/08/24 15:05:34                                   Desc Main
                                                               Document     Page 27 of 44
 Fill in this information to identify your case:

  Debtor 1           David                    Frederick              Ralls, Jr
                     First Name              Middle Name             Last Name

  Debtor 2
  (Spouse, if filing) First Name             Middle Name             Last Name

  United States Bankruptcy Court for the:                  Eastern           District of    Pennsylvania

  Case number      24-12228
  (if known)                                                                                                                             ❑ Check if this is an
                                                                                                                                             amended filing

Official Form 106H
Schedule H: Your Codebtors                                                                                                                                       12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out, and number
the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and case number (if
known). Answer every question.

 1.     Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
        ✔ No
        ❑
        ❑ Yes
 2.     Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include Arizona,
        California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
        ✔ No. Go to line 3.
        ❑
        ❑ Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
          ❑ No
          ❑ Yes. In which community state or territory did you live?                                    . Fill in the name and current address of that person.


                 Name of your spouse, former spouse, or legal equivalent


                 Number                   Street


                 City                              State                         ZIP Code

 3.     In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown in line
        2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official Form 106D),
        Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill out Column 2.

        Column 1: Your codebtor                                                                        Column 2: The creditor to whom you owe the debt

                                                                                                       Check all schedules that apply:
 3.1
        Name                                                                                           ❑ Schedule D, line
                                                                                                       ❑ Schedule E/F, line
        Number                          Street
                                                                                                       ❑ Schedule G, line
        City                                       State                                    ZIP Code

 3.2
        Name                                                                                           ❑ Schedule D, line
                                                                                                       ❑ Schedule E/F, line
        Number                          Street
                                                                                                       ❑ Schedule G, line
        City                                       State                                    ZIP Code




Official Form 106H                                                     Schedule H: Codebtors                                                          page 1 of 1
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 Fill in this information to identify your case:

  Debtor 1                  David                  Frederick        Ralls, Jr
                           First Name              Middle Name     Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name     Last Name                                                Check if this is:

                                                           Eastern District of Pennsylvania
                                                                                                                            ❑ An amended filing
                                                                                                                            ❑ A supplement showing postpetition
  United States Bankruptcy Court for the:

  Case number                       24-12228                                                                                   chapter 13 income as of the following date:
  (if known)

                                                                                                                               MM / DD / YYYY

Official Form 106I
Schedule I: Your Income                                                                                                                                          12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for supplying correct
information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse. If you are separated and your
spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known). Answer every question.


 Part 1: Describe Employment


 1. Fill in your employment
    information.                                                            Debtor 1                                             Debtor 2 or non-filing spouse


     If you have more than one job,          Employment status          ✔ Employed ❑ Not Employed
                                                                        ❑                                                    ❑ Employed ❑ Not Employed
     attach a separate page with
     information about additional            Occupation
     employers.
                                             Employer's name            The Children's Hospital of
     Include part time, seasonal, or
     self-employed work.                                                Philadelphia
                                             Employer's address         3401 Civic Center Blvd
     Occupation may include student                                      Number Street                                        Number Street
     or homemaker, if it applies.




                                                                        Philadelphia, PA 19104-4319
                                                                         City                     State      Zip Code         City                  State   Zip Code

                                             How long employed there?


 Part 2: Give Details About Monthly Income


     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing spouse
     unless you are separated.
     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1      For Debtor 2 or
                                                                                                                        non-filing spouse

 2. List monthly gross wages, salary, and commissions (before all payroll
    deductions.) If not paid monthly, calculate what the monthly wage would be.          2.               $5,868.96                     $0.00

 3. Estimate and list monthly overtime pay.                                              3.   +               $0.00     +               $0.00


 4. Calculate gross income. Add line 2 + line 3.                                         4.               $5,868.96                     $0.00




Official Form 106I                                                       Schedule I: Your Income                                                                 page 1
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 Debtor 1                 David                        Frederick                       Ralls, Jr                                     Case number (if known) 24-12228
                          First Name                   Middle Name                      Last Name


                                                                                                                           For Debtor 1       For Debtor 2 or
                                                                                                                                              non-filing spouse
       Copy line 4 here....................................................................................➔   4.           $5,868.96                    $0.00
 5.    List all payroll deductions:
       5a. Tax, Medicare, and Social Security deductions                                                       5a.            $882.57                    $0.00
       5b. Mandatory contributions for retirement plans                                                        5b.              $0.00                    $0.00
       5c. Voluntary contributions for retirement plans                                                        5c.            $234.69                    $0.00
       5d. Required repayments of retirement fund loans                                                        5d.              $0.00                    $0.00
       5e. Insurance                                                                                           5e.            $100.95                    $0.00
       5f. Domestic support obligations                                                                        5f.              $0.00                    $0.00
       5g. Union dues                                                                                          5g.             $55.65                    $0.00
       5h. Other deductions. Specify:                                                                          5h.   +          $0.00         +          $0.00
 6.    Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                             6.           $1,273.85                    $0.00
 7.    Calculate total monthly take-home pay. Subtract line 6 from line 4.                                     7.           $4,595.11                    $0.00
 8.    List all other income regularly received:
       8a. Net income from rental property and from operating a business,
           profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                                                8a.              $0.00                    $0.00
       8b. Interest and dividends                                                                              8b.              $0.00                    $0.00
       8c. Family support payments that you, a non-filing spouse, or a
           dependent regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                                               8c.              $0.00                    $0.00
       8d. Unemployment compensation                                                                           8d.              $0.00                    $0.00
       8e. Social Security                                                                                     8e.              $0.00                    $0.00
       8f. Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash
            assistance that you receive, such as food stamps (benefits under the
            Supplemental Nutrition Assistance Program) or housing subsidies.

            Specify:                                                                                           8f.              $0.00                    $0.00
       8g. Pension or retirement income                                                                        8g.              $0.00                    $0.00
       8h. Other monthly income. Specify:                                                                      8h.   +          $0.00         +          $0.00


 9.    Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                   9.               $0.00                     $0.00
 10. Calculate monthly income. Add line 7 + line 9.
     Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse                                 10.          $4,595.11     +               $0.00         =         $4,595.11

 11.   State all other regular contributions to the expenses that you list in Schedule J.
       Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
       friends or relatives.
       Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

       Specify:                                                                                                                                                   11. +              $0.00
 12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income. Write that
     amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                                      12.            $4,595.11
                                                                                                                                                                            Combined
                                                                                                                                                                            monthly income
 13. Do you expect an increase or decrease within the year after you file this form?
       ✔ No.
       ❑
       ❑ Yes. Explain:

Official Form 106I                                                                               Schedule I: Your Income                                                             page 2
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 Fill in this information to identify your case:

  Debtor 1                  David                   Frederick            Ralls, Jr
                                                                                                                 Check if this is:
                           First Name               Middle Name         Last Name
                                                                                                                 ❑ An amended filing
  Debtor 2
  (Spouse, if filing)      First Name               Middle Name         Last Name
                                                                                                                 ❑ A supplement showing postpetition chapter 13
                                                                                                                      expenses as of the following date:
  United States Bankruptcy Court for the:                    Eastern District of Pennsylvania
                                                                                                                      MM / DD / YYYY
  Case number                       24-12228
  (if known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                       12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

 Part 1: Describe Your Household

 1. Is this a joint case?
     ✔ No. Go to line 2.
     ❑
     ❑ Yes. Does Debtor 2 live in a separate household?
             ❑ No
             ❑ Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
 2. Do you have dependents?                    ✔ No
                                               ❑
     Do not list Debtor 1 and                  ❑ Yes. Fill out this information         Dependent's relationship to        Dependent's        Does dependent live
     Debtor 2.                                                                          Debtor 1 or Debtor 2               age                with you?
                                                    for each dependent...............
     Do not state the dependents'
     names.                                                                                                                                    ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
                                                                                                                                               ❑ No. ❑ Yes.
 3. Do your expenses include                       ✔ No
                                                   ❑
    expenses of people other than
    yourself and your dependents?
                                                   ❑ Yes


 Part 2: Estimate Your Ongoing Monthly Expenses

 Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report expenses as of a
 date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the applicable date.

 Include expenses paid for with non-cash government assistance if you know the value of                                                 Your expenses
 such assistance and have included it on Schedule I: Your Income (Official Form 106I.)

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and any rent
    for the ground or lot.                                                                                                    4.                  $1,588.27

     If not included in line 4:
     4a. Real estate taxes                                                                                                    4a.                       $0.00
     4b. Property, homeowner's, or renter's insurance                                                                         4b.                       $0.00
     4c. Home maintenance, repair, and upkeep expenses                                                                        4c.                       $0.00
     4d. Homeowner's association or condominium dues                                                                          4d.                       $0.00




Official Form 106J                                                                Schedule J: Your Expenses                                                         page 1
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 Debtor 1            David                  Frederick            Ralls, Jr                                   Case number (if known) 24-12228
                     First Name             Middle Name          Last Name


                                                                                                                            Your expenses


 5.    Additional mortgage payments for your residence, such as home equity loans                                 5.                        $0.00

 6.    Utilities:
       6a. Electricity, heat, natural gas                                                                         6a.                  $150.00
       6b. Water, sewer, garbage collection                                                                       6b.                       $0.00
       6c. Telephone, cell phone, Internet, satellite, and cable services                                         6c.                  $200.00

       6d. Other. Specify:                                                                                        6d.                       $0.00
 7.    Food and housekeeping supplies                                                                             7.                   $484.00

 8.    Childcare and children’s education costs                                                                   8.                        $0.00

 9.    Clothing, laundry, and dry cleaning                                                                        9.                   $125.00

 10. Personal care products and services                                                                          10.                  $125.00

 11.   Medical and dental expenses                                                                                11.                  $150.00

 12. Transportation. Include gas, maintenance, bus or train fare.
     Do not include car payments.                                                                                 12.                  $350.00

 13. Entertainment, clubs, recreation, newspapers, magazines, and books                                           13.                  $100.00

 14. Charitable contributions and religious donations                                                             14.                       $0.00

 15. Insurance.
     Do not include insurance deducted from your pay or included in lines 4 or 20.
       15a. Life insurance                                                                                        15a.                      $0.00
       15b. Health insurance                                                                                      15b.                      $0.00
       15c. Vehicle insurance                                                                                     15c.                 $200.00

       15d. Other insurance. Specify:                                                                             15d.                      $0.00

 16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify:                                                                                                   16.                       $0.00

 17. Installment or lease payments:
       17a. Car payments for Vehicle 1                                                                            17a.                      $0.00
       17b. Car payments for Vehicle 2                                                                            17b.                      $0.00
       17c. Other. Specify:                                                                                       17c.                      $0.00
       17d. Other. Specify:                                                                                       17d.                      $0.00
 18. Your payments of alimony, maintenance, and support that you did not report as deducted
     from your pay on line 5, Schedule I, Your Income (Official Form 106I).                                       18.                       $0.00

 19. Other payments you make to support others who do not live with you.
       Specify:                                                                                                   19.                       $0.00

 20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
       20a. Mortgages on other property                                                                           20a.                      $0.00
       20b. Real estate taxes                                                                                     20b.                      $0.00
       20c. Property, homeowner’s, or renter’s insurance                                                          20c.                      $0.00
       20d. Maintenance, repair, and upkeep expenses                                                              20d.                      $0.00
       20e. Homeowner’s association or condominium dues                                                           20e.                      $0.00



Official Form 106J                                                          Schedule J: Your Expenses                                               page 2
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 Debtor 1            David               Frederick             Ralls, Jr                                    Case number (if known) 24-12228
                     First Name          Middle Name           Last Name



 21. Other. Specify: Storage Unit                                                                                21.    +              $212.00


 22. Calculate your monthly expenses.

      22a. Add lines 4 through 21.                                                                               22a.                 $3,684.27

      22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                       22b.                     $0.00
      22c. Add line 22a and 22b. The result is your monthly expenses.                                            22c.                 $3,684.27


 23. Calculate your monthly net income.

      23a. Copy line 12 (your combined monthly income) from Schedule I.                                          23a.                $4,595.11

      23b. Copy your monthly expenses from line 22c above.                                                       23b.       –         $3,684.27
      23c. Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                               23c.                   $910.84



 24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

      ✔ No.
      ❑              None
      ❑ Yes.




Official Form 106J                                                       Schedule J: Your Expenses                                                page 3
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 Fill in this information to identify your case:

  Debtor 1                      David                       Frederick                Ralls, Jr
                               First Name                  Middle Name              Last Name

  Debtor 2
  (Spouse, if filing)          First Name                  Middle Name              Last Name

  United States Bankruptcy Court for the:                              Eastern District of Pennsylvania

  Case number                              24-12228                                                                                                                      ❑ Check if this is an
  (if known)                                                                                                                                                                 amended filing


Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical
Information                                                                                                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Fill out all
of your schedules first; then complete the information on this form. If you are filing amended schedules after you file your original forms, you must fill out a
new Summary and check the box at the top of this page.


 Part 1: Summarize Your Assets


                                                                                                                                                                              Your assets
                                                                                                                                                                              Value of what you own

 1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B...........................................................................................................                     $166,118.40

    1b. Copy line 62, Total personal property, from Schedule A/B................................................................................................                            $14,601.50

    1c. Copy line 63, Total of all property on Schedule A/B...........................................................................................................                    $180,719.90



 Part 2: Summarize Your Liabilities



                                                                                                                                                                              Your liabilities
                                                                                                                                                                              Amount you owe

 2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D.......                                                            $174,956.86

 3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F......................................                                                    $15,792.00

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F.................................                                         +          $161,806.00

                                                                                                                                                  Your total liabilities                  $352,554.86

 Part 3: Summarize Your Income and Expenses

 4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I..........................................................................................                                    $4,595.11


 5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J..................................................................................                                                  $3,684.27




Official Form 106Sum                                           Summary of Your Assets and Liabilities and Certain Statistical Information                                                        page 1 of 2
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                    First Name            Middle Name            Last Name



Part 4: Answer These Questions for Administrative and Statistical Records



6. Are you filing for bankruptcy under Chapters 7, 11, or 13?
   ❑ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
   ✔ Yes
   ❑

7. What kind of debt do you have?
   ✔ Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
   ❑
       family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

   ❑ Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
       this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
   Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                              $5,868.96




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:


                                                                                                                Total claim

     From Part 4 on Schedule E/F, copy the following:


    9a. Domestic support obligations (Copy line 6a.)                                                                              $0.00


    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                                                 $15,792.00


    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                                           $0.00


    9d. Student loans. (Copy line 6f.)                                                                                        $18,268.00


    9e.Obligations arising out of a separation agreement or divorce that you did not report as priority                           $0.00
       claims. (Copy line 6g.)



    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)                  +                     $0.00


    9g. Total. Add lines 9a through 9f.                                                                                    $34,060.00




Official Form 106Sum                              Summary of Your Assets and Liabilities and Certain Statistical Information                            page 2 of 2
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 Fill in this information to identify your case:

  Debtor 1                  David                  Frederick         Ralls, Jr
                            First Name             Middle Name      Last Name

  Debtor 2
  (Spouse, if filing)       First Name             Middle Name      Last Name

  United States Bankruptcy Court for the:                  Eastern District of Pennsylvania

  Case number                       24-12228                                                                                      ❑ Check if this is an
  (if known)                                                                                                                           amended filing


Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                        12/15
If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or obtaining money
or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



               Sign Below



   Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

   ✔ No
   ❑
   ❑ Yes. Name of person                                                            . Attach Bankruptcy Petition Preparer's Notice, Declaration, and
                                                                                      Signature (Official Form 119).




   Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and that they are true and correct.




   ✘ /s/ David Frederick Ralls, Jr
        David Frederick Ralls, Jr, Debtor 1


        Date 07/08/2024
                 MM/ DD/ YYYY




Official Form 106Dec                                         Declaration About an Individual Debtor's Schedules
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 Fill in this information to identify your case:

  Debtor 1                  David                  Frederick            Ralls, Jr
                           First Name              Middle Name       Last Name

  Debtor 2
  (Spouse, if filing)      First Name              Middle Name       Last Name

  United States Bankruptcy Court for the:                  Eastern District of Pennsylvania

  Case number                       24-12228                                                                                          ❑ Check if this is an
  (if known)                                                                                                                              amended filing


Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more
space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every
question.




 Part 1: Give Details About Your Marital Status and Where You Lived Before


  1. What is your current marital status?

    ❑ Married
    ✔ Not married
    ❑
  2. During the last 3 years, have you lived anywhere other than where you live now?

    ✔ No
    ❑
    ❑ Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

  3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory?(Community property states and
  territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

    ✔ No
    ❑
    ❑ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2: Explain the Sources of Your Income


  4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
  Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
  If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                     Debtor 1                                                 Debtor 2

                                                     Sources of income              Gross Income              Sources of income          Gross Income
                                                     Check all that apply.          (before deductions and    Check all that apply.      (before deductions and
                                                                                    exclusions)                                          exclusions)

                                                    ✔ Wages, commissions,
                                                    ❑                                                        ❑ Wages, commissions,
    From January 1 of current year until the
                                                        bonuses, tips                      $28,559.75           bonuses, tips
    date you filed for bankruptcy:
                                                    ❑ Operating a business                                   ❑ Operating a business


Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                          page 1
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                    First Name               Middle Name            Last Name


    For last calendar year:                          ✔ Wages, commissions,
                                                     ❑                                                     ❑ Wages, commissions,
                                                           bonuses, tips                 $88,362.00            bonuses, tips
    (January 1 to December 31, 2023             )
                                      YYYY           ❑ Operating a business                                ❑ Operating a business

    For the calendar year before that:               ✔ Wages, commissions,
                                                     ❑                                                     ❑ Wages, commissions,
                                                           bonuses, tips                 $26,894.00            bonuses, tips
    (January 1 to December 31, 2022             )
                                      YYYY           ❑ Operating a business                                ❑ Operating a business


  5. Did you receive any other income during this year or the two previous calendar years?
  Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment, and other
  public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery winnings. If you are
  filing a joint case and you have income that you received together, list it only once under Debtor 1.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

 Part 3: List Certain Payments You Made Before You Filed for Bankruptcy


  6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

    ❑ No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by
              an individual primarily for a personal, family, or household purpose.”
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?

              ❑ No. Go to line 7.
              ❑ Yes.        List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                            paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                            not include payments to an attorney for this bankruptcy case.
              * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.


    ✔ Yes.
    ❑         Debtor 1 or Debtor 2 or both have primarily consumer debts.
              During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

              ❑ No. Go to line 7.
              ✔ Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
              ❑
                            include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to
                            an attorney for this bankruptcy case.

                                                               Dates of         Total amount paid         Amount you still owe       Was this payment for…
                                                               payment

             Citibank N.A.                                                               $1,447.00                          $0.00   ❑ Mortgage
             Creditor's Name
                                                                                                                                    ❑ Car
             Mail Code 451
                                                                                                                                    ✔ Credit card
                                                                                                                                    ❑
             5800 S Corporate Pl
             Number      Street
                                                                                                                                    ❑ Loan repayment
                                                                                                                                    ❑ Suppliers or vendors
             Sioux Falls, SD 57108-5027
             City                    State      ZIP Code                                                                            ❑ Other




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2
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                    First Name            Middle Name          Last Name

                                                          Dates of           Total amount paid         Amount you still owe       Was this payment for…
                                                          payment

             Citibank N.A.                                                            $2,289.00                          $0.00   ❑ Mortgage
            Creditor's Name
                                                                                                                                 ❑ Car
             Mail Code 451
                                                                                                                                 ✔ Credit card
                                                                                                                                 ❑
             5800 S Corporate Pl
            Number       Street
                                                                                                                                 ❑ Loan repayment
                                                                                                                                 ❑ Suppliers or vendors
             Sioux Falls, SD 57108-5027
            City                  State      ZIP Code                                                                            ❑ Other

             Sb1 Federal Credit Union                                                 $1,450.18                $10,932.99        ❑ Mortgage
            Creditor's Name
                                                                                                                                 ✔ Car
                                                                                                                                 ❑
                                                                                                                                 ❑ Credit card
             Po Box 7480
            Number       Street
                                                                                                                                 ❑ Loan repayment
             Philadelphia, PA 19101-7480
            City                  State      ZIP Code                                                                            ❑ Suppliers or vendors
                                                                                                                                 ❑ Other

             Trumark Financial Credit Union                                           $1,308.33                  $9,811.00       ❑ Mortgage
            Creditor's Name
                                                                                                                                 ❑ Car
             Attn: Bankruptcy
                                                                                                                                 ✔ Credit card
                                                                                                                                 ❑
             335 Commerce Dr
            Number       Street
                                                                                                                                 ❑ Loan repayment
                                                                                                                                 ❑ Suppliers or vendors
             Ft Washington, PA 19034-2701
            City                  State      ZIP Code                                                                            ❑ Other

             Credit One Bank                                                          $1,700.00                  $2,019.00       ❑ Mortgage
            Creditor's Name
                                                                                                                                 ❑ Car
             Attn: Bankruptcy
                                                                                                                                 ✔ Credit card
                                                                                                                                 ❑
             6801 S Cimarron Rd
            Number       Street
                                                                                                                                 ❑ Loan repayment
                                                                                                                                 ❑ Suppliers or vendors
             Las Vegas, NV 89113-2273
            City                  State      ZIP Code                                                                            ❑ Other

             Acima Credit                                                             $1,746.00                          $0.00   ❑ Mortgage
            Creditor's Name
                                                                                                                                 ❑ Car
                                                                                                                                 ❑ Credit card
             4th Floor
             9815 South Monroe Street
            Number       Street
                                                                                                                                 ❑ Loan repayment
                                                                                                                                 ❑ Suppliers or vendors
             Sandy, UT 84070
            City                  State      ZIP Code
                                                                                                                                 ✔ Other Lease
                                                                                                                                 ❑

             Macy's/DSNB                                                              $1,350.00                          $0.00   ❑ Mortgage
            Creditor's Name
                                                                                                                                 ❑ Car
             Attn: Bankruptcy
                                                                                                                                 ✔ Credit card
                                                                                                                                 ❑
             701 E 60th St N
            Number       Street
                                                                                                                                 ❑ Loan repayment
                                                                                                                                 ❑ Suppliers or vendors
             Sioux Falls, SD 57104-0432
            City                  State      ZIP Code                                                                            ❑ Other




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 3
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Debtor 1            David                 Frederick            Ralls, Jr                                         Case number (if known) 24-12228
                    First Name            Middle Name          Last Name

                                                          Dates of            Total amount paid           Amount you still owe      Was this payment for…
                                                          payment

             Synchrony Bank/Lowe's                                                      $1,100.00                          $0.00   ❑ Mortgage
             Creditor's Name
                                                                                                                                   ❑ Car
             c/o AIS InfoSource LP
                                                                                                                                   ✔ Credit card
                                                                                                                                   ❑
             4515 N Santa Fe Ave
             Number      Street
                                                                                                                                   ❑ Loan repayment
                                                                                                                                   ❑ Suppliers or vendors
             Oklahoma City, OK 73118-7901
             City                 State      ZIP Code                                                                              ❑ Other


  7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
  Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations of which
  you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for a business you
  operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and alimony.

    ✔ No
    ❑
    ❑ Yes. List all payments to an insider.

  8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an insider?
  Include payments on debts guaranteed or cosigned by an insider.

    ✔ No
    ❑
    ❑ Yes. List all payments that benefited an insider.

 Part 4: Identify Legal Actions, Repossessions, and Foreclosures


  9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
  List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications, and
  contract disputes.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                  Nature of the case                       Court or agency                                Status of the case

                                                  Mortgage Foreclosure
    Case title       WILMINGTON                                                            Philadelphia Court of Common                 ✔ Pending
                                                                                                                                        ❑
                     SAVINGS FUND
                     SOCIETY vs. DAVID
                                                                                           Pleas
                                                                                          Court Name
                                                                                                                                        ❑ On appeal
                     RALLS
                                                                                           1400 John F Kennedy Blvd                     ❑ Concluded
                                                                                          Number       Street
    Case number 230902315
                                                                                           Philadelphia, PA 19107-3200
                                                                                          City                     State     ZIP Code




  10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
  Check all that apply and fill in the details below.

    ✔ No. Go to line 11.
    ❑
    ❑ Yes. Fill in the information below.




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                    First Name            Middle Name           Last Name



  11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your accounts or
  refuse to make a payment because you owed a debt?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a court-
  appointed receiver, a custodian, or another official?

    ✔ No
    ❑
    ❑ Yes

 Part 5: List Certain Gifts and Contributions


  13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

    ❑ No
    ✔ Yes. Fill in the details for each gift.
    ❑
     Gifts with a total value of more than $600          Describe the gifts                                        Dates you gave    Value
     per person                                                                                                    the gifts
                                                        Gift; Gift; Gift
    Lataysha Harmon                                                                                                02/15/2024                 $1,000.00
    Person to Whom You Gave the Gift
                                                                                                                   02/29/2024                 $1,000.00

                                                                                                                   03/14/2024                 $9,000.00

    603 E 3rd St
    Number     Street


    Wilmington, DE 19801
    City                          State   ZIP Code

    Person’s relationship to you Girlfriend




  14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

    ✔ No
    ❑
    ❑ Yes. Fill in the details for each gift or contribution.

 Part 6: List Certain Losses


  15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster, or
  gambling?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            David                Frederick            Ralls, Jr                                      Case number (if known) 24-12228
                    First Name           Middle Name          Last Name
 Part 7: List Certain Payments or Transfers


  16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you consulted
  about seeking bankruptcy or preparing a bankruptcy petition?
  Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                               Description and value of any property transferred            Date payment or       Amount of payment
    Cibik Law, P.C.                                                                                         transfer was made
    Person Who Was Paid                        Attorney’s Fee
                                                                                                            06/26/2024                      $2,075.00
    1500 Walnut Street Suite 900
    Number     Street




    Philadelphia, PA 19102
    City                    State   ZIP Code
    mail@cibiklaw.com
    Email or website address


    Person Who Made the Payment, if Not You



  17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who promised to
  help you deal with your creditors or to make payments to your creditors?
  Do not include any payment or transfer that you listed on line 16.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property transferred in the
  ordinary course of your business or financial affairs?
  Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
  Do not include gifts and transfers that you have already listed on this statement.

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Description and value of property        Describe any property or payments            Date transfer was
                                                transferred                              received or debts paid in exchange           made
    Ramya Bashmila Bonu                        528 Equinox Drive, Bear, DE 19701        Debtor received $46,328.42 from the sale
    Person Who Received Transfer                                                        of the property after closing.                02/15/2024
    712 Christiana Mdws
    Number     Street


    Bear, DE 19701-2813
    City                    State   ZIP Code


    Person's relationship to you
    Buyer



  19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a beneficiary?
  (These are often called asset-protection devices.)

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

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Debtor 1            David               Frederick            Ralls, Jr                                      Case number (if known) 24-12228
                    First Name          Middle Name          Last Name
 Part 8: List Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units


  20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed, sold, moved,
  or transferred?
  Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage houses, pension
  funds, cooperatives, associations, and other financial institutions.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities, cash, or other
  valuables?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

    ❑ No
    ✔ Yes. Fill in the details.
    ❑
                                                Who else has or had access to it?           Describe the contents                     Do you still have
                                                                                                                                      it?

    Storage Rentals of America
                                                                                           Various used pieces of furniture
                                                                                                                                     ✔ No
                                                                                                                                     ❑
    Name of Storage Facility                   Name
                                                                                                                                     ❑ Yes
    100 E Scotland Dr
    Number     Street                          Number    Street



                                               City                  State   ZIP Code
    Bear, DE 19701-1756
    City                    State   ZIP Code




 Part 9: Identify Property You Hold or Control for Someone Else


  23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust for someone.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.




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Debtor 1            David               Frederick              Ralls, Jr                                         Case number (if known) 24-12228
                    First Name          Middle Name            Last Name
 Part 10: Give Details About Environmental Information


  For the purpose of Part 10, the following definitions apply:
      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or toxic
      substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or regulations controlling the
      cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used to own, operate,
      or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance, hazardous material,
      pollutant, contaminant, or similar term.
  Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

  24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  25. Have you notified any governmental unit of any release of hazardous material?

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

  26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

    ✔ No
    ❑
    ❑ Yes. Fill in the details.

 Part 11: Give Details About Your Business or Connections to Any Business


  27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

        ❑ A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
        ❑ A member of a limited liability company (LLC) or limited liability partnership (LLP)
        ❑ A partner in a partnership
        ❑ An officer, director, or managing executive of a corporation
        ❑ An owner of at least 5% of the voting or equity securities of a corporation
    ✔ No. None of the above applies. Go to Part 12.
    ❑
    ❑ Yes. Check all that apply above and fill in the details below for each business.

  28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial institutions,
  creditors, or other parties.

    ✔ No
    ❑
    ❑ Yes. Fill in the details below.




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 Debtor 1           David                Frederick             Ralls, Jr                                    Case number (if known) 24-12228
                    First Name           Middle Name           Last Name




 Part 12: Sign Below


  I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers are true
  and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection with a
  bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.




    ✘ /s/ David Frederick Ralls, Jr
        Signature of David Frederick Ralls, Jr, Debtor 1


        Date 07/08/2024




  Did you attach additional pages to your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

    ✔ No
    ❑
    ❑ Yes

  Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

    ✔ No
    ❑
                                                                                                   Attach the Bankruptcy Petition Preparer’s Notice,
    ❑ Yes. Name of person                                                                          Declaration, and Signature (Official Form 119).




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